Case 1:12-cr-00133-SEB-TAB          Document 1744           Filed 09/22/16     Page 1 of 1 PageID #:
                                            7259



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


    UNITED STATES OF AMERICA,                           )
                                                        )
                                 Plaintiff,             )
                                                        )
                        vs.                             )       1:12-cr-00133-SEB-TAB
                                                        )
    JEREMY JOHNSON,                                     )                -26
                                                        )
                                 Defendant.             )



                 ORDER ADOPTING REPORT AND RECOMMENDATION
        Having reviewed Magistrate Judge Debra McVicker Lynch’s Report and

 Recommendation that Jeremy Johnson’s supervised release be revoked, pursuant to Title 18,

 U.S.C. §3401(i) and Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C.

 §3583, The Court now approves and adopts the Report and Recommendation as the entry of the

 Court, and orders a sentence imposed of imprisonment of 15 months in the custody of the

 Attorney General or his designee, with no supervised release to follow. The Court recommends

 that the Defendant be designated to FCI Terre Haute.

 SO ORDERED.

                                                            _______________________________
                       Date: 9/22/2016                        SARAH EVANS BARKER, JUDGE
                                                              United States District Court
                                                              Southern District of Indiana

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